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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
QUENTIN S. NASH,                         :   Case No.: _________________
                                         :
                Plaintiff,               : COMPLAINT
                                         :
      -against-                          : DEMAND FOR JURY TRIAL
                                         :
MOBILEIRON, INC., SIMON                  :
BIDDISCOMBE, TAE HEA NAHM, JESSICA :
DENECOUR, KENNETH KLEIN, JAMES           :
TOLONEN, ANJALI JOSHI, and RISHI         :
BAJAJ,                                   :
                                         :
                Defendants.              :
-------------------------------------- X

       Plaintiff, Quentin S. Nash (“Plaintiff”), by the undersigned attorneys, for this complaint

against Defendants, alleges upon personal knowledge with respect to Plaintiff, and upon

information and belief based upon, inter alia, the investigation of counsel, as to all other

allegations herein, as follows:

                                  NATURE OF THE ACTION

       1.      This is an action brought by Plaintiff against MobileIron, Inc. (“MobileIron” or the

“Company”) and the members of the Company’s board of directors (collectively referred to as the

“Board” or the “Individual Defendants” and, together with MobileIron, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”),

15 U.S.C. §§ 78n(a), 78t(a) respectively, and United States Securities and Exchange Commission

(“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9. Plaintiff’s claims arise in connection with the

proposed merger (the “Proposed Transaction”) of MobileIron and Ivanti, Inc. (“Ivanti”).

       2.      On or about September 28, 2020, MobileIron announced that it had entered into an

agreement and plan of merger, pursuant to which MobileIron would merge with and into Ivanti




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(the “Merger Agreement”). Pursuant to the terms of the Merger Agreement, MobileIron’s

shareholders would be entitled to receive $7.05 per share in cash for each share of MobileIron

common stock they owned (the “Merger Consideration”).

       3.      On or about October 14, 2020, in order to convince MobileIron’s public common

stockholders to vote in favor of the merger, the Defendants authorized the filing of a materially

incomplete and misleading Schedule 14(a) Preliminary Proxy Statement (the “Proxy”) with the

Securities and Exchange Commission (“SEC”).

       4.      In particular, the Proxy contains materially incomplete and misleading information

concerning the background of the Proposed Transaction and the valuation analyses performed by

MobileIron’s financial advisors, Barclays Capital Inc. (“Barclays” or the “Financial Advisors”)

regarding the Proposed Transaction.

       5.      The Proposed Transaction is expected to close in the fourth quarter of 2020 or the

first quarter of 2021 and the special meeting of the Company’s shareholders to vote on the

Proposed Transaction is forthcoming. Therefore, it is imperative that the material information that

has been omitted from the Proxy is disclosed prior to the special meeting, so Plaintiff can properly

exercise his corporate voting rights.

       6.      For these reasons, and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9.

Plaintiff seeks to enjoin Defendants from taking any steps to consummate the Proposed

Transaction unless and until the material information discussed below is disclosed to MobileIron’s

public common shareholders sufficiently in advance of the upcoming shareholder vote or, in the

event the Proposed Transaction is consummated, to recover damages resulting from the

Defendants’ violations of the Exchange Act.




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                                   JURISDICTION AND VENUE

          7.      This Court has jurisdiction over all claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.

          8.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over each Defendant by this Court permissible

under the traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec.

Inv’r Prot. Corp. v. Vigman, 764 F.2d 1309, 1315 (9th Cir. 1985). “[S]o long as a defendant has

minimum contacts with the United States, Section 27 of the Act confers personal jurisdiction over

the defendant in any federal district court.” Id. at 1316.

          9.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, as well as 28 U.S.C. § 1391, because Defendants are found or are inhabitants or transact

business in this District. Indeed, MobileIron’s securities trade on the Nasdaq Global Select

Market (the “Nasdaq”), which is headquartered in this District, rendering venue in this District

appropriate. See, e.g., United States v. Svoboda, 347 F.3d 471, 484 n.13 (2d Cir. 2003) (collecting

cases).




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                                             PARTIES

       10.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of MobileIron common stock.

       11.      Defendant MobileIron is a Delaware corporation with its principal executive offices

located at 490 East Middlefield Road, Mountainview California 94043. The Company’s common

stock trades on the Nasdaq under the ticker symbol “MOBL.”

       12.      Defendant Simon Biddiscombe (“Biddiscombe”) is, and has been at all relevant

times, the Company’s Chief Executive Officer and a director of the Company.

       13.      Defendant Tae Hea Nahm (“Nahm”) is, and has been at all relevant times, the

Chairman of the Board of Directors of the Company.

       14.      Defendant Jessica Denecour (“Denecour”) is, and has been at all relevant times, a

director of the Company.

       15.      Defendant Kenneth Klein (“Klein”) is, and has been at all relevant times, a director

of the Company.

       16.      Defendant James Tolonen (“Tolonen”) is, and has been at all relevant times, a

director of the Company.

       17.      Defendant Anjali Joshi (“Joshi”) is, and has been at all relevant times, a director of

the Company.

       18.      Defendant Rishi Bajaj (“Bajaj”) is, and has been at all relevant times, a director of

the Company.

       19.      The Defendants identified in paragraphs 12 through 18 are collectively referred to

herein as the “Board” or the “Individual Defendants,” and together with the Company, the

“Defendants.”




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                                SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       20.     MobileIron is a publicly traded Delaware corporation and software company that

provides unified endpoint and enterprise mobility management for mobile devices, such as multi-

factor authentication, and was a pioneer in mobile security and management for smartphones and

tablet computers. MobileIron is an established player in the zero trust security solutions market,

and a leader in mobile-centric, zero trust solutions that go beyond traditional approaches to security

by utilizing a more comprehensive set of attributes to grant secure access. MobileIron products

and services validate the device, establish user context, check application authorization, verify the

network, and detect and mitigate threats before granting secure access to a device or user.

MobileIron’s common stock trades on the Nasdaq under the ticker symbol “MOBL.”

       21.     Prior to the announcement of the Proposed Transaction, MobileIron had excellent

growth prospects.

       22.     For example, on July 29, 2020, just a few months before the Proposed Transaction

was announced, MobileIron issued a press release entitled MobileIron Announces Second Quarter

2020 Results that announced that the Company was poised for continued and sustained growth

thanks, in part, to the COVID-19 pandemic, which helped make “clear that the age of the

Everywhere Enterprise is dawning,” that would provide additional opportunities for MobileIron’s

growth, stating in part:


               “In the face of the hurdles brought on by the pandemic, our team’s focus and
               execution enabled us to grow second quarter revenue by 16% and report record
               non-GAAP operating margin of 9.4%. Beyond our financial accomplishments, we
               continued to demonstrate the leading innovation that makes MobileIron the most
               robust mobile-centric security platform by introducing the first multi-vector,
               mobile phishing protection to defend against these prominent cybersecurity
               threats,” said Simon Biddiscombe, CEO, MobileIron. “As remote work becomes
               an increasing part of many companies’ future plans, it is clear that the age of the



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                 Everywhere Enterprise is dawning, where customers, workers, and infrastructure
                 will need to converge seamlessly and securely from anywhere to connect. This
                 new normal brings with it an increasingly complex set of security demands and
                 we are confident that our comprehensive set of offerings are uniquely positioned
                 to meet these challenges.”


       23.       Thus, the Proposed Transaction comes at a time when MobileIron’s future success

was not fully reflected by its share price. As a result, the Proposed Transaction will “compensate”

the Company’s stockholders with cash that fails to adequately compensate them for the intrinsic

value of their shares.

       24.       Despite MobileIron’s intrinsic value and growth prospects, the Individual

Defendants are agreeing to a merger that cashes out the Company’s stockholders and deprives

them the ability to partake in the Company’s growth. The Individual Defendants breached their

fiduciary duties owed to the Company’s stockholders by agreeing to the Proposed Transaction for

the unfair Merger Consideration and allowing the unfair and flawed sales process to unfold in the

manner that it did, which will cause Plaintiff and the Class to receive an inadequate Merger

Consideration.

The Proposed Transaction

       25.       On September 28, 2020, MobileIron issued a press release announcing the merger

agreement:

                  MobileIron to Be Acquired by Ivanti to Secure Every Endpoint and
                                  Power the Everywhere Enterprise

       September 28, 2020

            Transaction Creates World-Class Market Leader in Unified Endpoint
          Management, Zero Trust Security and Enterprise Service Management with
                           Most Comprehensive Set of Solutions

       MOUNTAIN VIEW, Calif.--(BUSINESS WIRE)—MobileIron (NASDAQ:
       MOBL), the mobile-centric security platform for the Everywhere Enterprise,
       today announced that it has entered into an agreement to be acquired by Ivanti,


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Inc., a leading provider of enterprise-grade intelligent IT management and
security software solutions. Ivanti today also announced it has entered into an
agreement to acquire Pulse Secure LLC, a leading provider of Secure Access and
mobile security solutions to enterprise customers.

Under the terms of the agreement, Ivanti will acquire all outstanding shares of
MobileIron common stock for a total value of approximately $872 million in
cash. MobileIron stockholders will receive $7.05 in cash per share, representing a
27% premium to the unaffected closing price as of September 24, 2020.
MobileIron’s Board of Directors unanimously approved the transaction and
believes the transaction will maximize stockholder value.

The “future of work” now means enabling a secure workforce for the “work from
everywhere” world through a mobile-centric, zero trust security strategy. By
bringing MobileIron and Pulse Secure into the Ivanti portfolio, organizations will
be able to manage and secure users, devices, data, and access to ensure that every
device in an organization is covered, while delivering a contextual personalized
employee experience. The combined company will have the ability to enable and
secure the Everywhere Enterprise. Additionally, customers will benefit from the
expanded scale, corporate resources, service capabilities and financial flexibility
that the transaction and combined hyper-automation platform will deliver. Upon
completion of the transaction, the combined company will be led by Ivanti
Chairman and CEO Jim Schaper.

“We are thrilled to join forces with Ivanti and Pulse Secure in a combination that
will accelerate our ability to help organizations quickly and securely embrace the
future of work, in which employees, IT infrastructures and customers are
everywhere – and mobile devices provide access to everything,” added Simon
Biddiscombe, CEO of MobileIron. “Bringing together our solutions will enable
organizations to easily secure users, devices, data and access in the Everywhere
Enterprise and we’re confident that this transaction will enable us to deliver
comprehensive security for the next generation workforce, provide enhanced
opportunities for our team of employees, and better serve our customer base.
We’re confident this combination represents the best path forward for our
stockholders and MobileIron.”

Backed by Clearlake Capital Group, L.P. and TA Associates Management L.P.,
the combined company’s solutions will extend to all devices, making Ivanti the
leading provider of Unified Endpoint Management (UEM), Enterprise Service
Management (ESM), and Zero Trust security solutions – and the only company
on the market that provides end-to-end coverage. The transaction will enable
Ivanti to deliver the most comprehensive set of solutions to discover, manage,
secure, and service every endpoint for the Everywhere Enterprise, in which
employees, IT infrastructures and customers are everywhere — and mobile
devices provide access to everything.




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      “By combining MobileIron and Pulse Secure with Ivanti, we are creating a leader
      in the large and growing Unified Endpoint Management, Security and Enterprise
      Service Management markets. We now have the most comprehensive set of
      software solutions that addresses the growing market demand for the future of
      work, where working from anywhere on any device type is the new normal,” said
      Jim Schaper, Ivanti Chairman and CEO. “With the integration of our industry
      knowledge and complementary product offerings, Ivanti will be well positioned to
      provide our expansive customer base with the critical tools needed to tackle IT
      challenges in the new normal. We welcome MobileIron’s and Pulse Secure’s
      employees, customers, and partner network to the Ivanti family, and thank
      Clearlake and TA Associates for their strong support in enabling these
      transformational transactions.”

      “The Pulse Secure team is excited to join the Ivanti family in the next chapter of
      growth for the combined platform,” added Sudhakar Ramakrishna, CEO of Pulse
      Secure. “We believe that organizations looking for Unified Endpoint Management
      and Secure Access solutions will see the combined platform as a new, highly
      focused partner with the capabilities to deliver a complete, best-in-class, global
      solution. We appreciate Siris Capital for their phenomenal support over the past
      six years, which enabled us to invest in our products, people, and clients in order
      to achieve a wonderful outcome for shareholders and find a great home.”

      Transaction Highlights

            •   Under the terms of the agreement with MobileIron, Ivanti will acquire all
                outstanding shares of MobileIron common stock for a total value of
                approximately $872 million. MobileIron stockholders will receive $7.05 in
                cash per share, representing a 27% premium to the unaffected closing
                price as of September 24, 2020.
            •   MobileIron’s Board of Directors unanimously approved the deal and
                believes the transaction will maximize stockholder value.
            •   Morgan Stanley Senior Funding, Inc., BofA Securities, UBS Investment
                Bank, and BMO Capital Markets are providing debt financing for the
                acquisitions.
            •   The closing of the transaction is expected in late Q4, subject to approval
                by MobileIron stockholders and the satisfaction of regulatory and
                customary closing conditions.

      Advisors

            •   Barclays acted as the exclusive financial advisor to MobileIron. Morrison
                & Foerster LLP acted as legal advisor to MobileIron.

The Preclusive Deal Protection Devices

      26.       To the detriment of the Company’s shareholders, the Individual Defendants agreed,



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in the Merger Agreement, to certain onerous and preclusive deal protection devices that operate

conjunctively to make the Proposed Transaction a fait accompli and all but ensure that the

Proposed Transaction is consummated and that no competing offers emerge for the Company.

       27.     The Merger Agreement is protected by “no-shop” provisions that prohibit, except

under extremely limited circumstances, the Individual Defendants from engaging in discussions

or negotiations relating to proposals regarding alternative acquisitions or business combinations.

       28.     These no-shop provisions also require the Board to provide Ivanti written notice of

any Acquisition Proposal and further requires the Board to provide prior written notice of its

intention to terminate the Merger Agreement in favor of any Superior Proposal and negotiate with

Ivanti following receipt of the notice, so that Ivanti has the opportunity to adjust the terms and

conditions of the Merger Agreement so that the Acquisition Proposal ceases to be a Superior

Proposal.

       29.     In addition, the Merger Agreement provides that the Company will be required to

pay a termination fee of $30,450,000 with respect to any termination under the no-shop provision.

       30.     Ultimately, these preclusive deal protection devices restrained and continue to

restrain the Company's ability to solicit or engage in negotiations with any third party regarding a

proposal to acquire all or a significant interest in the Company. The aggregate effect of these

preclusive deal protection devices, viewed in light of the materially inadequate consideration

offered for the Company’s shares in the Proposed Transaction and the flawed and conflicted

negotiations process, supports an inference that the Board was not acting in good faith in approving

the terms of the Merger Agreement.

       31.     Accordingly, Plaintiff seeks injunctive and other equitable relief to prevent the

irreparable injury that the Company’s shareholders will continue to suffer absent judicial




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intervention.

The Proxy Omits Material Information

       32.      On or about October 14, 2020, in order to convince the Company’s public common

shareholders to vote in favor of the Proposed Transaction, the Defendants authorized the filing of

the materially incomplete and misleading Proxy with the SEC, in violation of Sections 14(a) and

20(a) of the Exchange Act.

       33.        Specifically, the Proxy omits two types of material information: (i) information

regarding the background of the Proposed Transaction; and (ii) financial information that renders

the Financial Advisors’ fairness analysis materially false, misleading, or incomplete.

       A.       The Proxy Omits Material Information Regarding the Background of the
                Proposed Transaction

       34.      The Proxy fails to provide material information regarding the background of the

merger that implicates the Individual Defendants’ potential conflicts of interest and the possibility

that the Merger Consideration is inadequate.

       35.      The Proxy fails to disclose (i) the identify of Company B, (ii) whether Company

C’s September 21, 2020 letter re-affirming its proposal to acquire MobileIron for $7.25 per share

re-affirmed Company C’s interest in acquiring MobileIron notwithstanding Company C

simultaneously acquiring Company B, and (iii) how MobileIron “was informed” that Ivanti was

acquiring Company B on September 23, 2020.

       36.      The Proxy fails to disclose the identity of Company B. Based on Ivanti’s September

28, 2020 press release entitled Ivanti, Backed by Clearlake Capital and TA Associates, Announces

Strategic Acquisitions of MobileIron and Pulse Secure to Further Automate and Secure Endpoints,

it appears but cannot be certain that Company B is Pulse Secure LLC. The identity of Company

B and the plain disclosure of any possible connections or conflicts of interest between any



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MobileIron insiders and Company B is obviously material to investors because Company C had

indicated interest in acquiring MobileIron and Company B but withdrew its proposal to acquire

MobileIron for $7.25 per share on the same day that MobileIron “was informed that Ivanti had

agreed with the current owner of Company B to acquire Company B.”

       37.    Likewise, the Proxy fails to disclose whether the letter that Company C provided

to re-affirm its proposal to acquire the Company for $7.25 per share on September 21, 2020 – just

two days before Company C withdrew its proposal and a week before the Defendants agreed to

the inadequate $7.05 Merger Consideration – also re-affirmed Company C’s stated position on

September 8, 2020 that Company C’s proposal to acquire MobileIron for $7.25 per share was not

contingent on also acquiring Company B. Again, this information is unquestionably material to

any reasonable investor because Company C withdrew its plainly superior proposal within days of

re-affirming it and on the same day that MobileIron “was informed that Ivanti had agreed with the

current owner of Company B to acquire Company B.”

       38.    Finally, the Proxy fails to disclose how MobileIron “was informed” that Ivanti

would be acquiring Company B on September 23, 2020. Again, this information is clearly material

to any reasonable investor because Ivanti’s acquisition of Company B appears to be a substantial

factor in Company C withdrawing its proposal to acquire MobileIron for $7.25 per share.

       B.     The Proxy Omits Material Financial Information that Renders the Company’s
              Financial Advisors’ Fairness Analysis Materially Misleading

       39.    The Proxy also omits material information that renders the Financial Advisors’

Fairness Analysis materially misleading.

       40.    The Proxy describes the Fairness Opinion and the various valuation analyses that

the Financial Advisors performed to render its opinion but fails to provide enough information

regarding the necessary data, support for conclusions, or the existence of, or basis for, the



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underlying assumptions that underpin the fairness opinion. Specifically, the Proxy does not

disclose enough information regarding the financial projections, inputs, and assumptions for

various financial valuations. Without this information, stockholders cannot replicate the analyses,

confirm the valuations, evaluate the Financial Advisors’ opinion that the Merger Consideration is

fair, or accurately assess the reliability of the Fairness Opinion. The informative value of the

Fairness Opinion is not in its conclusions, but in the valuation analyses that support them. Thus,

the key inputs, which are intrinsically baked into those conclusions, must also be fairly disclosed.

       41.     The Proxy fails to disclose the following items used to derive the Net Income and

Unlevered Free Cash Flow projections: (i) General and administrative expenses, (ii) Stock-based

compensation expenses, (iii) Change in net working capital, (iv) Depreciation and amortization,

and (v) any other items used to derive these projections. With respect to financial projections,

directors are obligated to provide complete valuation metrics to shareholders, particularly in cash-

out transactions where non-GAAP metrics were used by the banker, since such metrics are not

uniformly defined and shareholders are therefore unable to assess the utility and legitimacy of the

actual metrics without seeing the underlying components.

       42.     With respect to Barclays’ Selected Comparable Company Analysis beginning on

Page 42, the Proxy fails to disclose (i) the objective criteria that Barclays relied upon in deeming

the selected companies “comparable” to the Company, (ii) the individual multiples for each of the

selected companies, (iii) Barclays’ full rationale and basis for selecting a 2020E Revenue multiple

range of 3.00x to 4.25x and a 2021E Revenue multiple range of 2.75x to 4.00x, including which,

if any, of the selected companies had substantial value tied up in NOLs and/or were projected to

post positive earnings in 2020 and/or 2021.

       43.     With respect to Barclays’ Selected Precedent Transaction Analysis beginning on




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Page 43, the Proxy fails to disclose: (i) the objective criteria that Barclays relied upon in deeming

the selected transactions “relevant,” (ii) the individual multiples for each of the selected

transactions, and (iii) Barclays’ full rationale and basis for selecting a range of 3.25x to 4.50x

forward twelve-month revenue for the valuation of MobileIron, including the “qualitative

judgments concerning differences between the characteristics of the selected precedent

transactions” such as which, if any, of the precedent transactions involved companies with

substantial value tied up in NOLs and/or projected to post positive earnings in the near future.

       44.     With respect to Barclays’ Discounted Cash Flow Analysis (“DCF”) beginning on

Page 44, the Proxy fails to: (i) fully disclose Barclays’ rationale and basis for selecting discount

rate ranges of 9.5% to 11.5%, (ii) fully disclose Barclays’ rationale and basis for applying a range

of EBITDA terminal multiples of 9.0x to 12.0x and/or a range of perpetuity growth rates of 3.0%

to 4.5%, (iii) the method and discount rate Barclays employed to derive the “estimated present

value of the NOLs” and whether the valuation would be different if the DCF applied NOLs to the

projected cash flows rather than excluding them from the cash flows and basing them on estimated

present value, and (iv) provide a sensitivity table that presents the derived enterprise values across

the full range of discount rates and exit multiples.

       45.     This information is material to the Company’s shareholders, and the omission of

this information renders the summary of the Discounted Cash Flow Analysis incomplete and

misleading. As one highly-respected law professor explained regarding these crucial inputs, in a

discounted cash flow analysis a banker takes management’s forecasts, and then makes several key

choices “each of which can significantly affect the final valuation.” Steven M. Davidoff, Fairness

Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such choices include “the appropriate discount

rate, and the terminal value…” Id. As Professor Davidoff explains:




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       There is substantial leeway to determine each of these, and any change can
       markedly affect the discounted cash flow value. For example, a change in the
       discount rate by one percent on a stream of cash flows in the billions of dollars can
       change the discounted cash flow value by tens if not hundreds of millions of
       dollars….This issue arises not only with a discounted cash flow analysis, but with
       each of the other valuation techniques. This dazzling variability makes it difficult
       to rely, compare, or analyze the valuations underlying a fairness opinion unless
       full disclosure is made of the various inputs in the valuation process, the weight
       assigned for each, and the rationale underlying these choices. The substantial
       discretion and lack of guidelines and standards also makes the process vulnerable
       to manipulation to arrive at the “right” answer for fairness. This raises a further
       dilemma in light of the conflicted nature of the investment banks who often provide
       these opinions.

Id. at 1577-78 (emphasis added). Without the above-mentioned information, the Company’s

shareholders cannot: (i) evaluate for themselves the reliability of the Discounted Cash Flow

Analysis, (ii) make a meaningful determination of whether the implied equity value ranges

properly value the Company or were the result of an unreasonable judgment by the Financial

Advisors, or (iii) make an informed decision regarding whether to vote in favor of the Proposed

Transaction.

       46.     With respect to Barclays’ Equity Analyst Target Prices Analysis beginning on Page

45, the Proxy fails to disclose (i) the source, dates, and amounts of the individual price targets, or

at least (ii) provide a measure of central tendency that fairly summarizes the results of the analysis.

       47.     With respect to Barclays’ Illustrative Leveraged Acquisition Analysis beginning on

Page 45, the Proxy fails entirely to disclose the rationale and basis underlying Barclays

assumptions.

       48.     With respect to Barclays’ Illustrative Transaction Premium Analysis beginning on

Page 45, the Proxy fails to disclose: (i) the individual transactions that were analyzed, including

(ii) the individual premium in each transaction, and (iii) the implied valuation for the company

acquired in the transaction, which includes companies that were acquired for as little as $250




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million and as much as $5 billion, i.e., or ranging from less than one third to almost six times the

value implied by the Proposed Transaction.

       49.     The Proxy also fails to disclose the amount of compensation that Barclays has

received from “Ivanti’s principal stakeholder and the other party that had entered into the Joinder.”

See Proxy at 46-47. This information is crucial for investors to know whether Barclays had a

significant conflict in issuing the fairness opinion that Defendants are urging the Company’s public

investors to rely on.

       50.     Unlike poker where a player must conceal his unexposed cards, the object of a

proxy statement is to put all one’s cards on the table face-up. In this case only some of the cards

were exposed—the others were concealed. If a Proxy discloses financial projections and valuation

information, such projections and valuations must be complete, accurate, and honest. The question

is not simply whether there is a duty to speak, but also whether there may be liability for not having

spoken enough.      With regard to future events, uncertain figures, and other so-called soft

information, a company may choose silence or speech elaborated by the factual basis as then

known—but it may not choose half-truths. See Campbell v. Transgenomic, et al., No. 18-2198

(8th Cir., March 1, 2019) (noting that “half-truths” are actionable misrepresentations under

securities laws and collecting cases). Accordingly, Defendants have disclosed some of the

information related to the projections, assumptions, and inputs relied upon by Defendants’

financial advisors, but have omitted crucial line items, reconciliations, and other information.

Thus, Defendants’ omission renders the projections and summaries disclosed in the Proxy

misleadingly incomplete.

       51.     In sum, the omission of the above-referenced information renders the Proxy

materially incomplete and misleading, in contravention of the Exchange Act. Absent disclosure




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of the foregoing material information prior to the upcoming shareholder vote concerning the

Proposed Transaction, Plaintiff will be unable to make an informed decision regarding whether to

vote his shares in favor of the Proposed Transaction, and he is thus threatened with irreparable

harm, warranting the injunctive relief sought herein.

                                             COUNT I

(Against All Defendants for Violations of Section 14(a) of the Exchange Act and Rule 14a-9)

          52.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          53.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

          54.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and

in the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          55.   The omission of information from a proxy will violate Section 14(a) and Rule 14a-

9 if other SEC regulations specifically require disclosure of the omitted information.

          56.   Defendants have issued the Proxy with the intention of soliciting the Company’s




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common shareholders’ support for the Proposed Transaction. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide critical information

regarding the valuation analyses performed by the Company’s Financial Advisors in support of its

fairness opinion.

       57.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy, but nonetheless failed to obtain and disclose such information

to the Company’s shareholders although they could have done so without extraordinary effort.

       58.     The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading.

The Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Transaction; indeed, the Proxy states that the Company’s Financial Advisors reviewed

and discussed its financial analyses with the Board, and further states that the Board considered

the financial analyses provided by the Company’s Financial Advisors, as well as its fairness

opinion and the assumptions made and matters considered in connection therewith. Further, the

Individual Defendants were privy to and had knowledge of the projections for the Company and

the details surrounding the process leading up to the signing of the Merger Agreement. The

Individual Defendants knew or were negligent in not knowing that the material information

identified above has been omitted from the Proxy, rendering the sections of the Proxy identified




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above to be materially incomplete and misleading. Indeed, the Individual Defendants were

required to, separately, review the Company’s Financial Advisors’ analyses in connection with

their receipt of the fairness opinions, question the Company’s Financial Advisors as to its

derivation of fairness, and be particularly attentive to the procedures followed in preparing the

Proxy and review it carefully before it was disseminated, to corroborate that there are no material

misstatements or omissions.

       59.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Individual Defendants were negligent in choosing to omit material information from the Proxy or

failing to notice the material omissions in the Proxy upon reviewing it, which they were required

to do carefully as the Company’s directors. Indeed, the Individual Defendants were intricately

involved in the process leading up to the signing of the Merger Agreement and preparation and

review of the Company’s financial projections.

       60.     The Company is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.

       61.     The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of his right to cast an informed vote if such misrepresentations and omissions are

not corrected prior to the Shareholder Vote. Plaintiff has no adequate remedy at law. Only through

the exercise of this Court’s equitable powers can Plaintiff be fully protected from the immediate

and irreparable injury that Defendants’ actions threaten to inflict.




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                                             COUNT II

  (Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act)

          62.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          63.   The Individual Defendants acted as controlling persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of the Company, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          64.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          65.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same.            The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were thus directly involved in preparing this document.

          66.   In addition, as the Proxy sets forth at length, and as described herein, the Individual




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Defendants were involved in negotiating, reviewing, and approving the Proposed Transaction. The

Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       67.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       68.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9 by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       69.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily enjoining Defendants and all persons acting in concert with them

from proceeding with the Shareholder Vote or consummating the Proposed Transaction, unless

and until the Company discloses the material information discussed above which has been omitted

from the Proxy;

       B.      Directing the Defendants to account to Plaintiff for all damages sustained as a result

of their wrongdoing;

       C.      Awarding Plaintiff the costs and disbursements of this action, including reasonable




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attorneys’ and expert fees and expenses; and

       D.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.



 Dated: October 21, 2020                              MONTEVERDE & ASSOCIATES PC
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